AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
v. )

Donald Charles Stedman Jr. , Go”) ) Case No.
Michael Hershberger-Davis , ( a! (AKA: Michael )
Hershberger)
)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

This criminal complaint is based on these facts:

See attached statement of facts.

® Continued on the attached sheet. ful. dw

Complainant’s signatur e

J la Schaefer, Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.

Date: 09/26/2024

Judge's signature

City and state: Washington, D.C.

Zia M. Faruqui; U.S. Magistrate Judge

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